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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  CITIZENS UNITED,

                 Plaintiff,

         v.
                                                           Civ. A. No. 19-2108-DLF
  UNITED STATES DEPARTMENT OF
  STATE,

                 Defendant.


                                 NOTICE OF APPEARANCE

       The Clerk of the Court will please enter the appearance of Assistant United States

Attorney Daniel Patrick Schaefer as counsel of record for Defendant in the above-captioned case.



Dated: August 26, 2019                      Respectfully submitted,

                                             /s/ Daniel P. Schaefer
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